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     Attorneys for Plaintiff ACLU of Arizona
14
                                UNITED STATES DISTRICT COURT
15                                  DISTRICT OF ARIZONA
16
            ARIZONA BROADCASTERS
17          ASSOCIATION et al.,
                                                            Case No. 2:22-cv-01431-JJT
18                                Plaintiffs,               NOTICE OF ATTORNEY
19                                                          WITHDRAWAL
                   v.
20          MARK BRNOVICH et al.,
21
                                  Defendants.
22

23

24          Pursuant to Local Rule 83.3, Plaintiff American Civil Liberties Union of Arizona
25 respectfully request that the Court withdraw the appearance of Shreya Tewari as counsel for

26
     Plaintiff American Civil Liberties Union of Arizona in the above-captioned case. As of October
               Case 2:22-cv-01431-JJT Document 48 Filed 10/14/22 Page 2 of 3




     14, 2022, Ms. Tewari will have completed her fellowship and will no longer be an attorney with
 1

 2 the American Civil Liberties Union Foundation. Ms. Tewari is not counsel of record in this

 3 matter, and thus her withdrawal will not require substitution of another attorney. Plaintiff will

 4 continue to be represented by attorneys with the American Civil Liberties Union Foundation and

 5
     the American Civil Liberties Union Foundation of Arizona.
 6
            For the foregoing reasons, the undersigned respectfully requests that the Court enter an
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     order granting counsel for Plaintiff leave to withdraw Shreya Tewari as counsel in this case.
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10    Dated: October 14, 2022                            Respectfully submitted,

11                                                       /s/Shreya Tewari
                                                         Shreya Tewari
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              Case 2:22-cv-01431-JJT Document 48 Filed 10/14/22 Page 3 of 3



                                     CERTIFICATE OF SERVICE
 1
            I hereby certify that on this 14th day of October, 2022, I electronically filed the foregoing
 2

 3 document via the CM/ECF system for the U.S. District Court for the District of Arizona, which

 4 effects service upon on all registered parties.

 5

 6   Dated: October 14, 2022                              /s/Shreya Tewari
                                                          Shreya Tewari
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